Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 1 of 36 Page ID #:665




                     EXHIBITB
       Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 2 of 36 Page ID #:666
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                                                                                                               I
                        5

                        4
                                                                                                               I
                                                                                                               ~-




                        .5

                        6

                        7

                                                         UNITEDSTATESDISTRICTCOURT
                             I
                        8 [

                        9                              CENTRAL DNISION OF CALIFORNIA
                      1011
                                                                                                               I
                        NICOLE CORREA on behalf of                        Case No. 8:19-cv-00921-JLS (DFMx)
                        herself and all others similarly
                      11 n situated,                                      CLASS ACTION SETTLEMENT
                             H                            .               AGREE1"1ENTA1'1vSTIPlj LATION
                      r2 ·                       Plaintiff,
                      13              V.

                      14 r ZILLOW GROUP_ INC__a

                      15
                                 Washington Corporation; and DOES
                                 1-10, inclusive,
                                                                           Hon. Josephine L. Staton            I
                      16                         Defendants.
                             H

                      17

                      18

                      19

                     20

                   21
                   22

                     23

                     24

                      25
                     26
                     27
                      28
LITTLERMENDELSON,P.C.
     2050Uain91reet
        Suila900
     Irvin&, CA 92814
      949.705.3000
                                           JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
      Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 3 of 36 Page ID #:667
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1         This Class Action Settlement Agreement and Stipulation is entered into between
                        2   ZILLOW, INC. ("Zillow" or "Defendant"), Plaintiffs NICOLE CORREA ("Correa")
                            and JOHN BALNICKI ("Balnicki") (collectively the "Named Plaintiffs"), in the Action
                        4   (as defined below).
                        5                                        DEFINITIONS
                        6                1.       Action. The "Action" means the class action complaint (and all
                        7   subsequent amended complaints) entitled Nicole Correa, et al. v. Zillow Group, Inc. et
                        8   al., originally filed in Orange County Superior Court as case number 30-2019-
                        9   01057872-CU-OE-CXC, and subsequently removed to the United States District Court,
                      10    Central District of California, case number 8:19-cv-00921-JLS (DFMx).
                      11                 2.       Agreement. "Agreement" shall refer to the instant Class Action
                      12    Settlement Agreement and Stipulation.
                      13                 3.       Class Counsel. "Class Counsel" shall mean Aashish Y. Desai of
                     14     DESAI LAW FIRM, P.C. and/or any successor(s) thereof.
                      15                 4.       Class Members, the Class, and Settlement Class Members. "Class
                      16    Members" are all persons who are employed or have been employed by Defendant in
                      17    the State of California at any time during the Class Period as a Sales Executive or
                      18    Business Consultant, or the following related job positions: Inside Sales Consultant,
                      19    Business Consultant I, Business Consultant II, Senior Business Consultant, Sr. Business
                     20     Consultant, Senior Business Consultant I, Senior Business Consultant II, Account Sales
                     21     Executive, Senior Sales Executive, Sr. Sales Executive, Special Project, Special Project
                     22     Sales Executive, Senior Special Products Sales Executive, Sr. Special Products Sales
                            Executive. The "Settlement Class" or "Settlement Class Members" means all Class
                     24     Members other than those who opt out.
                      25                 5.       Class Notice. "Class Notice" means the document mutually agreed
                      26    upon by the Parties and approved by the Court to be sent to the Class and PAGA
                     27     Members following preliminary approval that includes the scope of release language
                      28    for Settled Claims and Settled PAGA Claims, notifies Class Members and PAGA
LITTLERMENDELSON,P.C.
     2050Main8treet                                                   2.
        Suite:900
     Irvine, CA 92814
      949.706.:W00
                                     JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
      Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 4 of 36 Page ID #:668
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1   Members of the Settlement, explains the Class Members' options, including how Class
                        2   Members may opt out or object to the Settlement, and explains the facts and methods
                        3   based on which the Class Members' and PAGA Members' estimated settlement
                        4   payments are calculated, substantially in the form attached hereto as Exhibit C.
                        5                    6.       Class Period. "Class Period" means March 18, 2015 to the date of
                        6   the Preliminary Approval Order.
                        7                    7.       The Court. The "Court" refers to the United States District Court,
                        8   or other court, that will approve the Agreement.
                        9                    8.       Day. "Day" or "days" refers to a calendar day(s) unless otherwise
                    10      stated. If any designated date or deadline falls on a weekend or holiday, the designated
                    11      date or deadline will occur on the next business day.
                    12                       9.       Defendant. "Defendant" means Zillow, Inc. 1
                    13                       10.      Effective Date. "Effective Date" of this Agreement means the first
                    14      business day following the last of the following occurrences: (i) Sixty (60) days
                    15      following the date the Court enters an Order of Final Approval, assuming no appeal is
                    16      filed; or (ii) if an appeal is filed, then the date of final resolution of that appeal (including
                    17      any requests for rehearing and/ or petitions for certiorari), resulting in final and
                    18      complete judicial approval of the Settlement in its entirety, with no further challenge to
                    19      the Settlement being possible.
                   20                        11.      Exclusion Period. The "Exclusion Period" means the time period
                   21       commencing on the date the Class Notice is mailed to Class Members via First Class
                   22       U.S. Mail and ending forty-five (45) days later on the deadline to submit an Opt Out
                   23       Request or Objection.
                   24                        12.      Final Judgment. "Final Judgment" means the judgment entered and
                   25       filed by the Court that: (1) finally approves this Agreement and disposes of all causes
                   26       of action raiE\edin the Action, bars Settlement Class Members from reasserting Settled
                   27
                            1
                             The Action was initially filed against Zill ow Group, Inc. On May 5, 2020, the Court dismissed Zillow Gr9up, Inc. and
                   28       granted leave to add Zill ow, Inc. as a named Defendant.
LITTLERMENDELSON,P.C.
     2050 Main Street
          Suite 900
                                                                                    3.
     Irvin&, CA 92814
       949.706.3000
                                         JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
       Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 5 of 36 Page ID #:669
 DocuSign Envelope ID: 057C4389-186E-4FB1-856B-E025EF50A7BF




                     1      Claims against Released Parties and permanently enJoms and otherwise bars all
                     2      Settlement Class Members from pursuing, or seeking to reopen, any of the Settled
                     3      Claims; (2) bars PAGA Members from reasserting PAGA Claims against Released
                     4      Parties and permanently enjoins and otherwise bars all PAGA Members from pursuing,
                     5      or seeking to reopen, any of the PAGA Claims; and (3) awards and orders the payment
                     6      of all required amounts pursuant to the terms of this Agreement {approved Class
                     7      Counsel's Attorneys' Fees and Attorney's Costs, Settlement Payments to Class
                     8      Members and PAGA Payments to PAGA Members, etc.). The Final Judgment will
                     9      constitute a binding and fmal resolution of any and all claims by the Named Plaintiffs
                    10      and all Settlement Class Members as to all Settled Claims and all PAGA Members as
                    11      to all Settled PAGA Claims as set forth in this Agreement.
                    12                   13.   Final Settlement Approval Hearing. "Final Settlement Approval
                    13      Hearing" means the hearing at which the Court shall consider the motion for fmal
                    14      approval of this Settlement and determine whether to fully and finally approve the
                    15      fairness and reasonableness of this Settlement and Agreement, and enter an order
                    16      barring Settlement Class Members from asserting Settled Claims against Released
                    17      Parties and all PAGA Members from pursuing Settled PAGA Claims against Released
                    18      Parties and permanently enjoining and otherwise bars all Settlement Class Members
                    19      and all PAGA Members from seeking to reopen, any of the Settled Claims and Settled
                    20      PAGA Claims (as applicable).
                    21                   14.   Gross Settlement Amount or GSA. "Gross Settlement Amount" or
                    22      "GSA" means a maximum total payment of One Million One Hundred Thousand
                    23      Dollars and Zero Cents ($1,100,000.00), payable by Defendant Zillow under this
                    24      Agreement, which includes credit for Overtime Payments. In no event shall Defendant
                    25      be required to pay any amounts above the GSA to effectuate this Settlement Agreement.
                    26                   15.   Last Known Address.        "Last Known Address" means the most
                    27      recently recorded mailing address for a Class Member and/or PAGA Member contained
                    28      in Defendant's payroll records.
LITTLE~0 :E"~~~~~~N, P.C.                                            4,
        Suite 900
                1
          1~:.3~~~
      lr~;::     "                   JOINTSTIPULATIONOF CLASS ACTIONAND PAGA SETTLEMENTAND RELEASE
         Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 6 of 36 Page ID #:670
 DocuSign Envelope ID: 057C4389-186E-4FB1-856B-E025EF50A7BF




                          1                   16.   Months. A "Month" means a calendar month jn the Class Period in
                          2   which a Class Member received an incentive compensation payment, as determined by
                          3   Defendant's records and as only subject to revision pursuant to this Agreement.
                          4                   17.   Named Plaintiffs.   "Named Plaintiffs" collectively means Correa
                          5   and Balnicki.
                          6                   18.   Net Settlement Amount or "NSA".      "Net Settlement Amount" or
                          7   "NSA" means the New Money Payment less the amounts awarded to Class Counsel for
                          8   Attorneys' Fees and Attorneys' Costs (as defined in Paragraph 46 (a) and (b)), the
                          9   enhancement award to the Named Plaintiffs, the payment to the LWDA to resolve
                     10       claims under the PAGA, the costs awarded for settlement administration, and the
                     11       employer taxes for the wage portion of any individual settlement payment to a Class
                     12       Member.
                     13                       19.   New Money Payment. ''New Money Payment" means the amount
                     14       of $909,741.34 remaining from the GSA after deducting the Overtime Payment.
                     15                   20.       Objection. "Objection" means an objection to the Settlement that a
                     16       Class Member submits in writing to the Claims Administrator no later than the last day
                     17       of the Exclusion Period in a format provided for by this Agreement.
                     18                   21.       Opt Out Request. "Opt Out Request" means a request by a Class
                     19       member to be excluded from the Settlement. Each "Opt Out Request" must (1) contain
                     20       the name, address, and telephone number of the person requesting exclusion; (2) be
                     21       signed by the Class Member; (3) be postmarked or fax stamped by the last day of the
                     22       Exclusion Period and returned to the Settlement Administrator at the specified address
                     23       or fax number. The Opt Out Request should state:
                     24                       "I WISH TO BE EXCLUDED FROM THE SETTLEMENT OF CLASS
                     25                       CLAIMS IN THE CORREA V. ZILLOW GROUP, INC. LAWSUIT.                    I
                     26                   UNDERSTAND THAT IF I ASK TO BE EXCLUDED FROM THE.
                     27                       SETTLEMENT CLASS, I WILL NOT RECEIVE AN INDIVIDUAL
                     28                       SETTLEMENT PAYMENT FROM THE SETTLEMENT OF THE
LITTLE~
     0
       ~E-~~';,~!2N,
                  P.C.                                                   5.
         Suite 900
     1               14
     '~1t1~t!~~                         JOINT STIPULATIONOF CLASS ACTIONAND PAGA SETTLEMENTAND RELEASE
       Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 7 of 36 Page ID #:671
 DocuSign Envelope ID: 057C4389-186E-4FB1-B56B-E025EF50A7BF




                        1                LAWSUIT. I UNDERSTAND THAT THE PAGA CLAIM WILL STILL
                        2                BE RELEASED AND SETTLED."
                        3                22.   Order of Final Approval. Means the order entered and filed by the
                        4   Court granting final approval of the Settlement and entry of the Final Judgment,
                        5   substantially in the form attached hereto as Exhibit E
                        6               23.    Overtime Payments. Means the total amount of $190,258.66 in
                        7   payments made to the employees identified on Exhibit A in the amounts identified that
                        8   is separately paid and reflected as credit toward the GSA.
                        9               24.    Parties.   "Parties" shall mean Named Plaintiffs, individually on
                    1O      behalf of themselves and on behalf of all Class Members, PAGA Members and interests
                    11      of the Labor Workforce Development Agency ("LWDA"), and Defendant.
                    12                  25.    PAGA Member. "PAGA Members" means all Class Members who
                    13      are employed or have been employed by Defendant in the state of California since
                    14      February 19, 2018 through the date of the Preliminary Approval Order.
                    15                   26.   Preliminary Approval Order. "Preliminary Approval Order" is the
                    16      Order entered and filed by the Court that preliminarily approves the terms and
                    17      conditions of this Agreement, including approval of the Parties' Agreement that
                    18      specifies the content of notice and manner in which notice will be provided to the Class
                    19      and responded to by the Class, substantially in the form attached hereto as Exhibit D.
                   20                    27.   Released Parties. "Released Parties" include Defendant and each of
                   21       its subsidiaries, officers, directors, members, partners, owners, shareholders,
                    22      employees, former employees, agents, servants, attorneys, assigns, affiliates,
                    23      independent contractors, volunteers, predecessors, successors, parent companies and
                    24      organizations, insurers, and any and all other persons, firms and corporations in which
                    25      Defendant may have an interest.
                    26                   28.   Settlement. "Settlement" shall refer to the agreement of the Parties
                    27      to settle the claims as set forth and embodied in this Agreement.
                    28
LITTLER MENDELSON, P.C.
      2050 Main Sheol                                                 6.
         Suite 900
     lrYlno,CA 92614
       949.705.3000
                                     JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
       Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 8 of 36 Page ID #:672
 DocuSignEnvelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1                29.     Settlement Administrator.    "Settlement Administrator" or "SA"
                        2   shall mean IYLM Group, Inc. or such other neutral administrator as chosen by the
                        3   Parties and approved by the Court.
                       4                 30.     Settled Claims.     "Settled Claims" are all claims, charges,
                        5   complaints, liens, demands, causes of action, obligations, damages and liabilities,
                       6    known or unknown, suspected or unsuspected, that each Class Member had, now has,
                       7    or may hereafter claim to have against the Released Parties and that were asserted in
                        8   the Action, or that relate in any way to those claims that could have been asserted in the
                        9   Action based on any of the facts, circumstances, transactions, events, occurrences, acts,
                       10   disclosures, statements, omissions or failures to act alleged in the operative Complaint,
                       11   regardless of whether such claims arise under federal, state and/or local law, statute,
                       12   ordinance, regulation, common law, or other source of law.           The Settled Claims
                       13   specifically include, but are not limited to claims for: (1) unlawful deduction of wages;
                       14   (2) failure to pay minimum wage; (3) failure to pay overtime wages; (4) failure to
                       15   furnish timely and accurate itemized wage statements; (5) failure to keep required
                       16   payroll records; (6) failure to pay all compensation due upon discharge; and (7)
                       17   incorporated or related claims asserted through California Business and Professions
                       18   Code § 17200. The Final Judgment shall expressly provide that it covers and bars each
                       19   and every Settlement Class Member from asserting any Settled Claims in the future.
                       20                31.     Settled PAGA Claims. "Settled PAGA Claims" means any and all
                       21   claims, charges, complaints, liens, demands, causes of action, obligations, damages and
                       22   liabilities, known or unknown, suspected or unsuspected, that, which Named Plaintiffs
                       23   on behalf of the State of California and all PAGA Members have had or now have
                       24   against the Released Parties that were asserted in the Action, or that relate to those
                       25   claims that could have been asserted in the Action based on any of the facts,
                       26   circumstances,     transactions, events, occurrences, acts, disclosures,      statements,
                       27   omissions, or failures to act alleged in the operative Complaint. The Settled PAGA
                       28   Claims specifically include, but are not limited to, claims for civil penalties premised
LITTLER MENDELSON, P.C.
      2050Maln8lreel                                                   7.
         Suite 900
     lrvlne,CA 92814
       949.705.3000
                                      JOINT STIPULATIONOF CLASS ACTION AND PAGA SETTLEMENTAND RELEASE
      Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 9 of 36 Page ID #:673
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B568-E025EF50A7BF




                        1   on the: (1) unlawful deduction of wages; (2) failure to pay minimum wage; (3) failure
                        2   to pay overtime wages; (4) failure to furnish timely and accurate itemized wage
                        3   statements; (5) failure to keep required payroll records; (6) failure to pay all
                        4   compensation due upon discharge. The Final Judgment shall expressly provide that it
                        5   covers and bars each and every PAGA Member and the State of California from
                        6   asserting any Settled PAGA Claims in the future.
                        7               32.    Settlement Class/Settlement Class Member(s). "Settlement Class
                        8   Member" means all Class Members other than those who have timely and validly
                        9   submitted Opt Out Requests and thereby excluded themselves from releasing Settled
                       10   Claims from the Settlement.
                       11               33.    Settlement Proceeds Distribution Deadline. "Settlement Proceeds
                       12   Distribution Deadline" means a date that is 21 days after the New Money Payment has
                       13   been made by Defendant Zillow to the SA.
                       14               34.    Updated Address. "Updated Address" means a mailing address that
                       15   was updated by a reasonable address verification measure of the SA or by an updated
                       16   mailing address provided by the United States Postal Service for a Class Member or
                       17   PAGA Member.
                       18                                        RECITALS
                       19               35.    This action was filed on March 18, 2019 in the Superior Court of
                   20       California, County of Orange. On May 1, 2019, Plaintiff Correa filed a First-Amended
                       21   Complaint, alleging the following causes of action: (1) unlawful deductions of wages
                       22   in violation of California Labor Code sections 221 and 2802; (2) failure to pay minimum
                       23   wage in violation of California Labor Code sections 1194 and 226.2; (3) failure to pay
                       24   overtime wages in violation of California Labor Code sections 510 and 558 and Wage
                       25   Order Number 5; (4) failure to furnish timely and accurate itemized wage statements in
                       26   violation of California Labor Code section 226; (5) failure to keep required payroll
                       27   records in violation in California Labor Code sections 226 and 1174; (6) failure to pay
                       28   all compensation due upon discharge in violation of California Labor Code sections 201
LITTLER MENDELSON, P.C.
     2050 Main SIPoet                                                8.
         Suite 900
     Irvine.CA 92614
       949.706-.3000
                                     JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
             Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 10 of 36 Page ID
                                               #:674
 DocuSignEnvelopeID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1   to 203; (7) unfair competition in violation of Business and Professions Code sections
                        2   I 7200, et seq.; and (8) violation of the Private Attorney General ;\ct, California Labor
                        3   Code sections 2699, et seq.
                        4                36.    Defendant filed an answer, and denied all allegations and claims
                        5   asserted in the First Amended Complaint.
                        6                37.    On May 15, 2019, Defendant removed the case to the Central
                        7   District of California asserting individual diversity and supplemental jurisdiction.
                        8                38.    On May 5, 2020, the Court dismissed Zill ow Group, Inc. as a named
                        9   defendant. On May 8, 2020, Plaintiff. Correa filed a Second Amended Complaint
                  10        adding John Balnicki as a named plaintiff and adding Zillow, Inc. as a named defendant.
                  11                     39.    Defendant and Class Counsel, on behalf of the Named Plaintiffs and
                  12        the Class, attended mediation with the Honorable Edward Infante on December 16,
                  13        2019. The Parties hereto agree that the terms and conditions of this Agreement are the
                  14        result oflengthy, intensive arms-length negotiations between the Parties supervised by
                  15        an experienced employment law mediator. The Parties agree that the Agreement is
                  16        entered into in good faith as to each Class Member and PAGA Member and that the
                  17        Settlement is fair, reasonable and adequate as to each Class Member and PAGA
                  18        Member.
                  19                           TERMS AND CONDITIONS OF SETTLEMENT
                  20              NOW THEREFORE, in consideration of the recitals listed above and the
                  21        promises and warranties set forth below, and intending to be legally bound and
                  22        acknowledging the sufficiency of the consideration and undertakings set forth herein,
                  23        the Named Plaintiffs, individually on behalf of themselves and on behalf of the Class
                  24        Members and PAGA Members and LWDA interests, on the one hand, and Defendant,
                  25        on the other hand, agree that the Action shall be, and is finally and fully compromised
                  26        and settled on the following terms and conditions.
                  27                     40.    Non-Admission of Liability. The Parties enter into this Agreement
                  28        to resolve the dispute that has arisen between them and to avoid the burden, expense
LITTLERMENDELSON,P.C.
     2050Mai1'1Slroat
          Suiteeoo
                                                                      9.
     Irvine.CA 9261-t
       949.705.30110
                                      JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
            Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 11 of 36 Page ID
                                              #:675
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                     1    and risk of continued litigation. In entering into this Agreement, Defendant does not
                     2    admit, and specifically denies, that it has: violated any federal, state, or local law;
                     3    violated any regulations or guidelines promulgated pursuant to any statute or any other
                     4    applicable laws, regulations, or legal requirements; breached any contract; or engaged
                     5    in any other unlawful conduct with respect to its employees or any other person or
                     6    entity. Neither this Agreement, nor any of its terms or provisions, nor any of the
                     7    negotiations connected with it or proceedings, payouts, or other events associated with
                     8    it, shall be construed as an admission or concession by Defendant of any such
                     9    violation(s) or failure(s) to comply with any applicable law by Defendant or any
                    1O    Released Parties. Except as necessary in a proceeding to approve, interpret, or enforce
                    11    the terms of this Agreement, this Agreement and its terms and provisions shall not be
                    12    offered or received as evidence in any action or proceeding to establish any liability or
                    13    admission on the part of Defendant or to establish the existence of any condition
                    14    constituting a violation of, or noncompliance with, federal, state, local or other
                    15    applicable law. The Parties intend this Settlement to be contingent upon the preliminary
                    16    and Final Approval of this Agreement; and in the event Final Approval of this
                    17    Agreement is not obtained, the Parties do not waive, and instead expressly reserve, their
                    18    respective rights to prosecute and defend these Action as if this Agreement never existed
                    19    in the event the Settlement is not fully and fmally approved as set forth herein. In the
                    20    event that this Agreement is not approved by the Court, fails to become effective, or is
                    21    reversed, withdrawn, or modified by the Court or any other court with jurisdiction over
                    22    the Action, the Agreement shall become null and void ab initio and shall have no
                    23    bearing on, and shall not be admissible in connection with, further proceedings in this
                    24    Action.
                    25                 41.   Stipulation for Class Certification. The Parties stipulate to the
                    26    certification of this Settlement Class for purposes of this Settlement only. If, however,
                    27    the Settlement does not become final for any reason, the Parties' Agreement shall
                    28    become null and void ab initio and shall have no bearing on, and shall not be admissible
LITTLE~
     0
       :-:E"~P,~~!~N,
                   P.C.                                             10.
        Suite eoo

     ''~:::,~~,~~~,.                JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
               Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 12 of 36 Page ID
                                                 #:676
 DocuSign Envelope ID: 057C4389-186E-4FB1-8568-E025EF50A7BF




                         1   in connection with, whether class certification would be appropriate in any other context
                         2   in these Action.
                         3                   42.   Release of Settled Claims.     As of the Effective Date, Named
                         4   Plaintiffs and all Settlement Class Members hereby do and shall be deemed to have
                         5   fully, finally, and forever released, settled, compromised, relinquished, and discharged,
                         6   and will be barred from asserting or re-asserting any and all Settled Claims against any
                         7   and all Released Parties. The Settlement includes a release of all Settled Claims during
                         8   the Class Period by Settlement Class Members employed at any time during the Class
                         9   Period. The parties agree that it is their intent that the terms set forth in this Agreement
                     1O      will release any further attempt, by lawsuit, administrative claim or action, arbitration,
                     11      demand, or other action of any kind, by each and every Settlement Class Member and
                     12      every PAGA Member to obtain any recovery based on the facts/allegations giving rise
                     13      to the claims pled or which could have been plead in the Complaint, First Amended
                     14      Complaint and Second Amended Complaint.
                     15                            a.   The Parties agree for settlement pmposes only that, because
                    16       the Class Members are so numerous, it is impossible or impracticable to have each Class
                     17      Member execute this Agreement. Accordingly, the Class Notice will advise all Class
                     18      Members of the binding nature of the release and such notice shall have the same force
                     19      and effect as if the Agreement were executed by each Class Member.
                    20                             b.   Named Plaintiffs and Class Counsel represent, covenant, and
                    21       warrant that they have not directly or indirectly assigned, transferred, encumbered, or
                    22       pmported to assign, transfer, or encumber to any person or entity any portion of any
                    23       liability, claim, demand, action, cause of action, or rights herein released and
                    24       discharged, except as set forth herein.
                    25                             c.   The Parties agree that this is a settlement of disputed claims
                    26       not involving undisputed wages, and that Labor Code Section 206.5 is therefore
                    27       inapplicable.
                    28
LITTLER MENDELSON, P.C.
      2050 Main Strool
                                                                        11.
     '·~:r:t~'!t~"
               ____                    J_O_INT_S_T_IP_UL_A_T_I_O_N_O_F_C_LA_S_S_A_C_TI_O_N_AND
                                                                          __ P_A_G_A_S_E_TTL_E_ME_NT_AND
                                                                                               __ RE_LE_A_S_E
                                                                                                         ___           _
            Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 13 of 36 Page ID
                                              #:677
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                       1                43.    Release of Settled PAGA Claims. As of the Effective Date, Named
                     2     Plaintiffs, individually and on behalf of the State of California and all PAGA Members,
                     3     hereby do and shall be deemed to have fully, finally, and forever released, settled,
                    4      compromised, relinquished, and discharged any and all of the Released Parties of and
                     5     from any and all Settled PAGA Claims.
                     6                  44.    Individual Release of Claims for Plaintiff Balnicki. In addition to
                     7     all other releases set forth in this Agreement, and except as to claims specifically
                     8     excluded, Plaintiff Balnicki makes the additional following general release of all claims,
                     9     known or unknown. Plaintiff Balnicki releases the Released Parties from all claims,
                    1O     demands, rights, liabilities, and causes of action of every nature and description
                    11     whatsoever, known or unknown, asserted or that might have been asserted, whether in
                    12     tort, contract, or for violation of any state or federal statute, rule, or regulation arising
                    13     out of, relating to, or in connection with any act or omission by or on the part of any of
                    14     the Released Parties committed or omitted through the execution of this Agreement.
                    15     Plaintiff Balnicki also specifically agrees and acknowledges that he is waiving all
                    16     claims under Title VII of the Civil Rights Act of 1964, the Equal Pay Act, the Americans
                    17     with Disabilities Act, the California Fair Employment and Housing Act, the Family and
                    18     Medical Leave Act, the Employee Retirement Income Security Act, the California
                    19     Labor Code, California Government Code, and California Business and Professions
                    20     Code. (The release set forth in this Paragraph shall be referred to as the "General
                    21     Release"). Plaintiff Balnicki agrees not to sue or otherwise make a claim against any
                    22     of the Released Parties that is in any way related to the General Release to the maximum
                    23     extent permitted by law. The General Release includes any unknown claims Plaintiff
                    24     Balnicki does not know or suspect to exist in his favor at the time of the General Release,
                    25     which, if known by either, might have affected his respective settlement with, and
                    26     release of, the Released Parties by Plaintiff Balnicki or might have affected his decisions
                    27     not to object to this Settlement or the General Release. With respect to the General
                    28     Release, PlaintiffBalnicki stipulates and agrees that he shall be deemed to have, and by
LITTLE~
      0
       ~E"~~~;;~N. P.C.                                                12.
        S11ita900

     rr~~::
         7 3
          ~:. ~~~1-1                 JOINTSTIPULATIONOF CLASSACTIONAND PAGASETTLEI\IBNT
                                                                                      AND RELEASE
               Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 14 of 36 Page ID
                                                 #:678
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1   operation of the Final Judgment shall have, expressly waived and relinquished, to the
                        2   fullest extent permitted by law, the provisions, rights and benefits of Section 1542 of
                        3   the California Civil Code, which states:
                        4         A general release does not extend to claims that the creditor or releasing party
                        5         does not know or suspect to exist in his or her favor at the time of executing the
                        6         release and that, if known by him or her, would have materially affected his or
                        7         her settlement with the debtor or released party.
                        8   This General Release shall not affect or bar any claims that PlaintiffBalnicki may have
                        9   for Unemployment Insurance, claims under the National Labor Relations Act, and the
                      10    right to receive benefits under any retirement plan or to elect COBRA continuation of
                      11    health insurance benefits. Nor shall the General Release preclude Plaintiff Balnicki
                      12    from filing a charge with any applicable administrative agency. Plaintiff Balnicki
                      13    understands and agrees, however, that by way of the General Release, he individually
                      14    releases any right to recover monetary damages in an action brought by an
                      15    administrative agency.
                      16                 45.    Individual Release of Claims for Plaintiff Correa.,_In addition to all
                      17    other releases set forth in this Agreement, and except as to claims specifically excluded,
                      18    Plaintiff Correa makes the additional following general release of all claims, known or
                      19    unknown. Plaintiff Correa releases the Released Parties from all claims, demands,
                      20    rights, liabilities, and causes of action of every nature and description whatsoever,
                      21    known or unknown, asserted or that might have been asserted, whether in tort, contract,
                      22    or for violation of any state or federal statute, rule, or regulation arising out of, relating
                      23    to, or in connection with any act or omission by or on the part of any of the Released
                      24    Parties committed or omitted through the execution of this Agreement. Plaintiff Correa
                      25    also specifically agrees and acknowledges that she is waiving all claims under Title VII
                      26    of the Civil Rights Act of 1964, the Equal Pay Act, the Americans with Disabilities Act,
                      27    the Family and Medical Leave Act, the Employee Retirement Income Security Act, the
                      28    California Labor Code, and California Business and Professions Code. (The release set
LITTLER MENDELSON, P.C.
      2050Main8t~ct
         Suite 900
                                                                        13.
     Irvine, CA 92614
       949.705.3000
                                      JOINT STIPULATIONOF CLASS ACTION AND PAGA SETTLEMENTAND RELEASE
              Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 15 of 36 Page ID
                                                #:679
 DocuSignEnvelopeID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1   forth in this Paragraph shall be referred to as the "General Release"). Plaintiff Correa
                        2   agrees not to sue or otherwise make a claim against any of the Released Parties that is
                        3   in any way related to the General Release to the maximum extent permitted by law,
                        4   unless such claims are identified as an excluded claim. The General Release includes
                        5   any unknown claims Plaintiff Correa does not know or suspect to exist in her favor at
                        6   the time of the General Release, which, if known ·by her, might have affected her
                        7   settlement with, and release of, the Released Parties by Plaintiff Correa or might have
                        8   affected her decisions not to object to this Settlement or the General Release. With
                        9   respect to the General Release, Plaintiff Correa stipulates and agrees that she shall be
                     10     deemed to have, and by operation of the Final Judgment shall have, expressly waived
                     11     and relinquished, to the fullest extent permitted by law, the provisions, rights and
                     12     benefits of Section 1542 of the California Civil Code, which states:
                     13                  A general release does not extend to claims that the creditor or releasing
                     14                  party does not know or suspect to exist in his or her favor at the time of
                     15                  executing the release and that, if known by him or her, would have
                     16                  materially affected his or her settlement with the debtor or released party.
                     17           This General Release shall not affect or bar any claims that Plaintiff Correa may
                     18     have for Unemployment Insurance, claims under the National Labor Relations Act, and
                     19     the right to receive benefits under any retirement plan or to elect COBRA continuation
                     20     of health insurance benefits. Nor shall the General Release preclude Plaintiff Correa
                     21     from filing a charge with any applicable administrative agency. Plaintiff Correa
                     22     understands and agrees, however, that by way of the General Release, she individually
                     23     releases any right to recover monetary damages in an action brought by an
                     24     administrative agency.
                     25           Plaintiff Correa and Defendant expressly state that claims asserted by Plaintiff
                     26     Correa for discrimination and/or retaliation under the California Fair Employment and
                     27     Housing Act (FEHA) and related retaliation claims ("related retaliation claims" shall
                     28     exclusively refer to retaliation claims based on conduct that was legally protected by the
LITTLERMENDELSON,P.C.
     2050 Main Stroel                                                 14.
        Suite 900
     lrvlne. CA 92814
      949.705.3000
                                     JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
             Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 16 of 36 Page ID
                                               #:680
DocuSignEnvelopeID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                      1    FEHA that are asserted under: Cal. Lab. Code 1102.5, Wrongful Constructive
                      2    Termination in Violation of California Public Policy, Bus. and Prof. Code 17200 and
                      3    Intentional Infliction of Emotional Distress) are excluded from this General Release,
                      4    and are not waived or otherwise released by operation of this Agreement.
                      5                46.    Settlement Payments and Calculation of Claims. Subject to final
                      6    Court approval and the conditions specified in this Agreement, and in consideration of
                      7    the mutual covenants and promises set forth herein, Defendant Zillow agrees to make a
                      8    payment or payments as set forth herein totaling an amount of, but not to exceed the
                      9    GSA. The Overtime Payments shall be credited as part of the GSA, and the remaining
                      10   New Money Payment shall be apportioned as follows:
                      11                      a.     Attorneys' Fees. Class Counsel will apply to the Court for an
                      12   award of attorneys' fees of no more than 1/3 of the GSA or Three Hundred, Sixty Six
                      13   Thousand, Six Hundred Thirty Dollars and Zero Cents ($366,630.00) ("Attorneys'
                      14   Fees"). The Attorneys' Fees shall come from and be deducted from the New Money
                      15   Payment, and Defendant will not oppose such application.        In the event the Court
                      16   approves an amount less than 1/3 of the GSA, the unawarded amount shall become part
                      17   of the New Money Payment for allocation to Settlement Class Members. Any reduction
                      18   by the Court shall not constitute grounds for revocation or cancellation of this
                      19   Agreement by Named Plaintiffs.
                      20                      b.     Attorneys' Costs. Class Counsel shall request approval of
                      21   payment of up to but not to exceed Twenty Thousand Dollars and Zero Cents
                      22   ($20,000.00) in costs, including any litigation costs ("Attorneys' Costs"), which will be
                      23   deducted from the New Money Payment. Defendant will not oppose such application.
                      24   Any unawarded Attorneys' Costs shall become part of the New Money Payment for
                      25   allocation to Settlement Class Members. Any reduction by the Court shall not constitute
                      26   grounds for revocation or cancellation of this Agreement by Named Plaintiffs.
                      27   Attorneys' Fees as specified in the preceding paragraph and Attorneys' Costs as
                      28   specified in this paragraph shall cover all claimed and unclaimed Attorneys' Fees,
LITTLERMENDELSON,P.C.
     2050MalnSlreel
                                                                     15.
         Suila900
     Irvine, CA 92614
      949,705.3000                   JOINT STIPULATIONOF CLASS ACTION AND PAGA SETTLEMENTAND RELEASE
            Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 17 of 36 Page ID
                                              #:681
DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                    1   Attorneys' Costs, and other amounts payable or awardable against Defendant for Class
                   2    Counsel's work, effort, or involvement in the Action and in carrying out the Agreement
                    3   and includes any and all work, effort, or involvement to carry out the terms of the
                   4    Agreement and as may be potentially or actually necessary or advisable to defend the
                    5   Agreement and/ or Settlement through appeal, or collateral attack or in any other forum
                    6   or proceeding. These specified Attorneys' Fees and Attorneys' Costs shall be the sole
                    7   payment for attorneys' fees and costs and, otherwise, the Parties and Class Members
                    8   and their counsel shall bear their own fees and costs in connection with the Action.
                    9                      c.       Administration Fees and Costs. Class Counsel will also apply
                 10     to the Court for approval of Settlement Administration costs in an amount estimated to
                 11     be up to ten thousand dollars ($10,000), which will be deducted from the New Money
                  12    Payment. Defendant will not oppose such application. Class Counsel will specify the
                  13    amount sought for such costs, up to the foregoing maximum, in Named Plaintiffs'
                  14    motions for preliminary and Final Approval of the Settlement.
                  15                       d.       Named Plaintiffs' Enhancements. Class Counsel will apply
                  16    to the Court for approval of an enhancement award in an amount not to exceed Two
                  17    Thousand and Five Hundred Dollars and Zero Cents ($2,500.00) for Plaintiff Correa to
                  18    be paid from the New Money Payment for assuming the risks associated with this
                  19    litigation. Class Counsel will apply to the Court for approval of an enhancement award
                 20     in an amount not to exceed Fifteen Thousand Dollars and Zero Cents ($15,000.00) for
                 21     Plaintiff Balnicki to be paid from the New Money Payment for assuming the risks
                  22    associated with this litigation, and in consideration for his individual General Release.
                 23     Defendant will not oppose such applications. Any unawarded amount shall become
                 24     part of the New Money Payment for allocation to Settlement Class Members. Any
                  25    reduction by the Court shall not constitute grounds for revocation or cancellation of this
                  26    Agreement by Named Plaintiffs.
                  27                        e.      Employer Payroll Taxes. With the exception of the Overtime
                  28    Payments, the employer-side payroll taxes for the wage portion of the Settlement
LITTLERMENDELSON,P.C.
     2050MainStrool                                                16.
          Suite 900
     Irvine.CA 9261'4
       949.705.3000
                                  JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
              Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 18 of 36 Page ID
                                                #:682
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                         1   Payments shall be paid from the New Money Payment. Defendant shall separately pay
                        2    employer-side payroll taxes for the Overtime Payments.
                        3                         f.         PAGA Allocation and Payments.       Pursuant to California
                        4    Labor Code Section 2698, et seq., the Parties designate Forty Thousand Dollars and
                        5    Zero Cents ($40,000.00) of the New Money to resolve the Settled PAGA Claims ..
                        6    Defendant Zillow shall pay seventy five percent (75%) of that amount, which is Thirty
                        7    Thousand Dollars and Zero Cents ($30,000.00), to the LWDA and the remainder to
                        8    PAGA Members. Defendant shall have the option of voiding this Agreement and
                        9    Settlement in the event the LWDA refuses to accept the above amount in full for all
                     10      civil penalties to PAGA Members in connection with the civil penalty claims alleged in
                     11      this Action, or in the event the LWDA or anyone on its behalf otherwise challenges the
                     12      above allocation or the Settlement. The remaining ten Thousand Dollars and Zero Cents
                     13      ($10,000.00) shall be paid to PAGA Members on a pro-rata basis based on the number
                     14      of Months worked as a PAGA Member.
                     15                           g.         Settlement Payments to Settlement Class Members. Only the
                     16      following individuals will receive Settlement Payments under the Settlement
                     17      Agreement: (1) the Named Plaintiffs and (2) Settlement Class Members. Individual
                     18      Settlement Payments will be calculated as follows:
                     19                                1.          The Settlement Class Members identified in Exhibit B,
                     20      as individuals who previously executed a Severance Agreement, will be allocated a total
                     21      of 5 points only, and they will not otherwise be allocated any additional points.
                     22                                11.         All other Settlement Class Members will be allocated
                     23      points as follows:
                     24                                         a) Each Settlement Class Member will receive 1 point for
                     25                                            each month when he or she received an incentive
                     26                                            compensation payment on or before April 30, 2017;
                     27

                     28
LITTLER MENDELSON,P.C.
     2050M11inS1r1111t
        Sui111900
                                                                           17.
     lrvlna, CA 926'4
      949.705.3000
                                      JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
               Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 19 of 36 Page ID
                                                 #:683
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                         1                                 b) Each Settlement Class Member will receive 2 points
                        2                                     for each month when he or she received an incentive
                        3                                     compensation payment on or after May 1, 2017;
                        4                                  c) Each Settlement Class Member will receive an
                        5                                     additional 2 points for each month when the incentive
                        6                                     compensation received by the class member under an
                        7                                     Incentive Compensation Plan in effect through
                        8                                     December 31, 2019 was reduced or off-set by
                        9                                     cancellations and/or resulted in a multiplier of less than
                    10                                        1.0;
                    11                                     d) Each Settlement Class Member who terminated
                    12                                        employment without signing a severance agreement
                    13                                        will receive an additional 5 points.
                        14                          111.      The value of a point shall be determined by dividing
                        15   the NSA by the total number f points available to each Settlement Class Member. Each
                        16   Settlement Class Member s all receive a gross payment equal to his or her points
                    17       multiplied by the value of a oint.
                        18                          lV.       The Parties agree that under no circumstances shall
                        19   Defendant be obligated to pa any amount under this Agreement to any Class Member
                    20       other than Settlement Class Members and PAGA Members. In addition, the Parties
                    21       agree that in no event shall D fondant, after the Overtime Payment is made, be obligated
                    22       to pay more than the New M ney Payment.
                    23                               V.       The Parties acknowledge and agree that the formula
                    24       used to calculate Individual ettlement Payments and PAGA Payments does not imply
                    25       that all of the elements of amages covered by the release are not being taken into
                    26       account. The above formula were devised as practical and logistical tools to simplify
                    27       the payment process.
                    28
LITTLER MENDELSON, P.C.
      2050Mol11Btraet                                                  18.
          Suile BOO
     Irvine, CA 928'4
       949.705.3000
                                      JOINT STIPULATION O CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
              Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 20 of 36 Page ID
                                                #:684
 DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1                  47.   No Credit Toward Benefit Plans.          The Individual Settlement
                        2   Payments made to Settlement Class Members and PAGA Payments made to PAGA
                        3   Members under this Agreement shall not be utilized to calculate any additional benefits
                        4   under any benefit plans to which any Settlement Class Members or PAGA Members
                        5   may be eligible, including, but not limited to: profit-sharing plans, bonus plans, 40l{k)
                        6   plans, stock purchase plans, vacation plans, sick leave plans, PTO plans, and any other
                        7   benefit plan. Rather, it is the Parties' intention that this Agreement will not affect any
                        8   rights, contributions, or amounts to which any Settlement Class Members and PAGA
                        9   Members may be entitled under any benefit plans.
                      10                  48.    Taxation of Settlement Proceeds.         All Individual Settlement
                      11    Payments shall be paid to Settlement Class Members in a net amount after applicable
                      12    employee state and federal tax withholdings, including payroll taxes, if any, have been
                      13    deducted.
                      14                         a.   The Parties agree that the Individual Settlement Payments
                      15    shall be allocated as follows: thirty-four percent (34%) will be allocated to wages and
                      16    W-2s shall be issued; thirty-three percent (33%) will be considered penalties; and thirty-
                      17    three percent (33%) shall be allocated to interest and any other non-wage related
                      18    amount. The penalties and interest will be reported as such to each Settlement Class
                      19    Member on an IRS Form 1099. The PAGA Payments to PAGA Members will be
                      20    designated as payments for alleged penalties and interest.
                      21                         b.   The SA shall calculate, withhold from the Individual
                      22    Settlement Payments, and remit to applicable governmental agencies sufficient
                      23    amounts, if any, as may be owed by Settlement Class Members for applicable employee
                      24    taxes. The SA will issue appropriate tax forms, as required, to each such Settlement
                      25    Class Member consistent with the foregoing breakdown.
                      26                         c.    All Parties represent that they have not received, and shall not
                      27    rely on, advice or representations from other parties or their agents regarding the tax
                      28    treatment of payments under federal, state, or local law. In this regard, Defendant
LITTLERMENDELSON,P.C.
     2050Maln9tre•I
         Suite 900
                                                                       19.
     lrvi11e,CA 9261"
      949.705.3000
                                        JOINT STIPULATIONOF CLASS ACTION AND PAGA SETTLEMENTAND RELEASE
             Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 21 of 36 Page ID
                                               #:685
DocuSignEnvelopeID: 057C4389-186E-4FB1-8568-E025EF50A78F




                        1   makes no representations regarding the taxability of the Individual Settlement
                        2   Payments, PAGA Payments, or any other payments made under this Agreement.
                        3                        d.    Class Counsel will be issued an IRS Form 1099 for any fees
                        4   and costs awarded by the Court.
                        5                        e.    The Named Plaintiffs will be issued IRS Form 1099s for any
                        6   enhancement awards approved by the Court. The enhancement awards payable to the
                        7   Named Plaintiffs shall be in addition to the Individual Settlement Payments and PAGA
                        8   Payments that they, as applicable, will receive.
                        9                  49.   Provisional Approval of Settlement. Named Plaintiffs shall file a
                     10     motion in the Action and take all other action to request that the Court enter the
                     11     Preliminary Approval Order based on an agreed-upon Settlement schedule, subject to
                     12     Court approval:
                     13                          a.    Seeking class certification on the terms set forth in this
                     14     Agreement solely for purposes of class settlement;
                     15                          b.    Preliminarily approving the proposed Settlement and this
                     16     Agreement, including the payments to the Settlement Class Members, Class Counsel,
                     17     the Named Plaintiffs, PAGA Members, the SA, and the LWDA;
                     18                          C.    Preliminarily approving the appointment of the Named
                     19     Plaintiffs as representatives of the Class for settlement purposes, if not otherwise
                     20     accomplished by class certification;
                     21                          d.    Preliminarily approvmg the appointment of counsel for
                     22     Named Plaintiffs as Class Counsel;
                     23                          e.    Appointing and approving a SA as chosen by the Parties and
                     24     approved by the Court, to comply with the duties and obligations as required by this
                     25     Agreement;
                     26                          £     Approving the form of the Class Notice mutually agreed by
                     27     the Parties;
                     28
LITTLERMENDELSON,P.C.
     2050 Main Stroot                                                 20.
        S11it1:1900
     Irvine, CA 92614
      949.706.3000
                                      JOINT STIPULATIONOF CLASS ACTION AND PAGA SETTLEMENTAND RELEASE
                  Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 22 of 36 Page ID
                                                    #:686
 DocuSignEnvelopeID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                         1                      g.       Scheduling the Final Settlement Approval Hearing for
                         2   consideration of Final Approval of this Agreement;
                         3                      h.       Requiring that any Class Members who object to the
                         4   Settlement Agreement submit any objection to the SA postmarked by the end of the
                         5   Exclusion Period and that the Parties be given an opportunity to file written responses
                         6   to any objection(s) with the Court;
                         7                      1.       Approving the procedure for Class Members to submit Opt
                         8   Out Requests, and setting a date after which no Class Members shall be allowed to
                         9   submit Opt Out Requests; and
                        1O                      J.       Approving the procedure for Settlement Class Members to
                        11   object to the Settlement.
                        12                Defendant shall not oppose Class Counsel's motions for preliminary
                        13   approval and Final Approval of the Settlement so long as the motions and supporting
                        14   papers are consistent with the terms of this Agreement. Class Counsel shall provide
                        15   Defendant with 7 days to review and provide comments on the motions for Preliminary
                        16   and Final Approval of the Settlement before the motion and supporting papers are filed
                        17   with the Court. Failure of the Court to grant the Preliminary Approval Order will be
                        18   grounds for the Parties to terminate the Settlement and the terms of the Agreement.
                        19                50.   Notice Procedure.
                        20                      a.       Class and PAGA Member Data. Within fifteen (15) business
                        21   days after filing of the Preliminary Approval Order, Defendant shall provide to the SA
                        22   a list of Class Members that identifies for each individual, his/her Social Security
                        23   number, last-known address, and the points for each Class Member and applicable
                        24   Months for each PAGA Member. The SA will keep the list confidential and shall not
                        25   provide to anyone, including Class counsel absent written approval from Defendant,
                        26   and shall use it only for the purposes described herein, take adequate safeguards to
                        27   protect confidential or private information, and return or certify the destruction of the
                        28   information upon completion of the Settlement Administration process.
LITTLE~
     0
       !;,~~~~!~N, P.C.                                               21.
          Suite 900
     llvlne, CA 9281 ◄
      '"·
            10
                 •·""                  JOINT STIPULATIONOF CLASS ACTIONAND PAGA SETTLEMENTAND RELEASE
               Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 23 of 36 Page ID
                                                 #:687
 DocuSignEnvelopeID: 057C4389-186E-4FB1-B56B-E025EF50A7BF




                         1                        b.    Settlement Administrator Duties. Prior to mailing the Class
                         2   Notice, the SA will update the addresses for the Class Members and PAGA Members
                         3   using the National Change of Address database and other available resources deemed
                         4   suitable by the SA. To the extent this process yields a different address from the one
                         5   supplied by Defendant ("Updated Address"), that Updated Address shall replace the
                         6   address supplied by Defendant ("Last Known Address") and be treated as the new Last
                         7   Known Address for purposes of this Agreement and for subsequent mailings in
                         8   particular.
                         9                        C.    Notice Procedure. Within fourteen (14) days after receipt of
                    10       the Class and PAGA Member Data, the Settlement Administrator shall send the Class
                    11       Notice to each Class Member's and PAGA Member's Last Known Address or Updated
                    12       Address (if applicable) via First-Class U.S. mail.
                    13                            d.    Exclusion Period. Class Members will have forty-five (45)
                    14       days from the postmark of the initial mailing of the Class Notice by the SA to submit
                    15       by First-Class U.S. mail their Opt Out Requests, with proof of date of submission to be
                    16       the postmark date of the completed Opt Out Request. Opt Out Requests do not apply
                    17       to the Settled PAGA Claims and will not exclude PAGA Members from the release of
                    18       Settled PAGA Claims.
                    19                            e.    Objection Period. Class Members will have forty-five (45)
                    20       days to object to the Settlement by filing a written objection with the SA that conforms
                    21       with this requirements of this Agreement, which the SA shall file or otherwise submit
                    22       to the Court and serve on the Parties within 10 days after the end of the Exclusion
                    23       Period.
                    24                            f.    Settlement Administrator Follow-up efforts.
                    25                                 1.     The SA shall re-mail by First-Class U.S. mail the Class
                    26       Notice returned by the Post Office with a forwarding address, and shall re-mail by First-
                    27       Class U.S. mail the Class Notice to any individual who personally provides an updated
                    28       address to the SA.
LITTLERMENDELSON,P.C.
     2050 Main Street
          Suile900
                                                                      22.
     lr~lr11t,CA 92614
       949,705.3000
                                       JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
            Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 24 of 36 Page ID
                                              #:688
DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                      1                              11.       In the event that the first mailing of the Class Notice to
                      2   any Class Member and PAGA Member is returned without a forwarding address, the
                      3   SA will immediately perform skip trace( s) if necessary using social security numbers
                      4   provided by Defendant and National Change of Address searches, as needed, to verify
                      5   the accuracy of the addresses provided and will conduct a second round of mailings of
                      6   the Class Notice by First-Class U.S. mail within five (5) business days for those forms
                      7   returned to sender.
                      8                         g.       Documenting Communications. The SA shall date stamp
                      9   documents     it   receives,     including   Opt   Out    Requests,    Objections    and   any
                 1O       correspondences and documents from Class Members and PAGA Members.
                 11                             h.       Settlement Administrator Declaration. At least ten (10) days
                 12       prior to the filing of the motion for final approval, the SA shall prepare, subject to the
                 13       Parties' input and approval, a declaration setting forth the due diligence and proof of
                 14       mailing of the Class Notice, the results of the SA' s mailings, including tracing and re-
                 15       mailing efforts, and the Class Members' and PAGA Members' responses to those
                 16       mailing, and provide additional information deemed necessary to approve the
                 17       settlement.
                 18                             1.       SA Written Reports. Each week during the Exclusion Period,
                 19       the SA shall provide the Parties with a report listing the number of Class Members that
                20        submitted Opt Out Requests and Objections. Within seven (7) days of the close of the
                21        Exclusion Period, the SA will provide a final report listing the number of Class
                22        Members who submitted Opt Out Requests or Objections.
                23                              J.       SA Calculations of Settlement Payments. Within seven (7)
                 24       days after resolving all challenges made by Settlement Class Members, and following
                 25       the Final Approval Order, the SA shall provide to the Parties a report showing its
                 26       calculation of all Settlement Payments to be made to Settlement Class Members and
                 27       PAGA Members. After receiving the SA's report, Class Counsel and Defendant's
        28      counsel shall review the same to determine if the calculation of payments to Settlement
LITTLE~
    ~EJ'!P.~~.~2N,
    0
           P.C.                                          23.
        Su!te900
   Irvine.CA 9261'1
    '"·'"·""                        JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
             Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 25 of 36 Page ID
                                               #:689
DocuSignEnvelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                      1   Class Members and PAGA Members is consistent with this Agreement, and shall notify
                      2   the SA if either counsel does not believe the calculation is consistent with the
                      3   Agreement. After receipt of comments from counsel, the SA shall finalize its calculation
                    4     of Individual Settlement Payments and PAGA Payments, at least five (5) days prior to
                      5   the distribution of such payments, and shall provide Class Counsel and Defendant's
                      6   Counsel with a final report listing the amount of all payments to be made to each
                      7   Settlement Class Member from the NSA and listing the amount of all payments to be
                      8   made to each PAGA Member from the amount allocated for PAGA Payments. The SA
                      9   will also provide information that is requested and approved by both Parties regarding
                    1o    its duties and other aspects of the Settlement and that is necessary to carry out the terms
                    11    of the Settlement.
                    12                 51.     Requirements for Recovery of Settlement Payments.
                    13                         a.    Class Members. No claim form is necessary to participate in
                    14    the Settlement. Unless a Class Member submits a valid and timely Opt Out Request, a
                    15    Class Member who takes no action will be a Settlement Class Member, bound by the
                    16    Judgment, and will receive a payment from the Net Settlement Amount. All Class
                    17    Members except for those who timely and validly opt out of the Settlement shall be
                    18    bound by the release of Settled Claims in this Agreement. All PAGA Members shall
                    19    be bound by the release of Settled PAGA Claims in this Agreement.
                    20                          b.   Late Submissions.     The Settlement Administrator shall not
                    21    accept as valid any Opt Out Request postmarked after the end of the Exclusion Period,
                    22    absent agreement from both Parties or order of the Court. It shall be presumed that, if
                    23    an Opt Out Request or Objection is not postmarked on or before the last day of the
                    24    Exclusion Period, the Class Member did not return the Opt Out Request or Objection
                    25    in a timely manner.
                    26                          c.   Challenges. Class Members will have the right to challenge
                    27    the number of points allocated to them. Challenges to the number of points shall be
                    28    sent directly to the Settlement Administrator at the address indicated on the Class
LITTLE~
    ~;_~?,;~,!~N,
    0
            P.C.                                                     24.
        Suite 900
   lrvhie, CA 92614
    '"-"'-""                        JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
               Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 26 of 36 Page ID
                                                 #:690
DocuSign Envelope ID: 057C4389-186E-4FB1-B56B-E025EF50A7BF




                         1   Notice. A Class Member challenging the number of points identified may also submit
                        2    documentary evidence in order to prove the number of points during the Class Period.
                        3    Defendant shall have the right to respond to the challenge by any Settlement Class
                        4    Member. No challenge to the number of points will be accepted unless sent by First-
                        5    Class U.S. mail within forty five (45) days from the initial mailing of the Class Notice
                        6    by the Settlement Administrator, with proof of date of submission to be the postmark
                        7    date unless otherwise ordered by the Court. The Settlement Administrator will inform
                        8    Class Counsel and Defendant's Counsel in writing of any timely filed challenges and
                        9    will determine all such disputes after consulting with the Parties regarding the number
                     10      of points. Subject to Court approval, Challenges will be resolved without hearing by
                     11      the Settlement Administrator, who will make a decision based on Defendant's records
                     12      and any documents or other information presented by the Class Member making the
                     13      challenge, Class Counsel, or Defendant.
                     14                         d.      Opt-Out Procedure. A Class Member will not be entitled to
                     15      opt out of the Settlement established by this Agreement unless he or she submits to the
                     16      Settlement Administrator an Opt Out Request via First-Class U.S. mail postmarked on
                     17      or before the expiration of the Exclusion Period.
                     18                               1.     Any Class Member who fails to submit via First-Class
                     19      U.S. mail a timely and valid Opt Out Request shall be barred from opting out of this
                     20      Agreement or the Settlement.
                     21                              11.      The Settlement Administrator shall not have the
                     22      authority to extend the deadline for Class Members to file a request to opt out of the
                     23      Settlement absent agreement by both Parties.
                     24                              111.     Class Members shall be permitted to rescind in writing
                     25      their request to opt out by submitting a written rescission statement to the Settlement
                     26      Administrator no later than the filing date of the motion for Final Approval and provided
                     27      individual Settlement Payments can be recalculated to reflect the rescission.
                     28
LITTLERMENDELSON,P.C.
     2050 Main Blteel                                                  25.
         Suite900
     Irvine, CA 9261-i
      949.705.3000
                                       JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
               Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 27 of 36 Page ID
                                                 #:691
DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                         1                            IV.         If five percent (5%) or more of the Class Members
                         2   timely opt out of the Settlement, Defendant shall have the sole and absolute discretion
                         3   to withdraw from this Agreement within seven (7) days after expiration of the Exclusion
                         4   Period and written notice from the Settlement Administrator of the final opt out rate.
                         5   Defendant shall provide written notice of such withdrawal to Class Counsel. In the
                         6   event that Defendant elects to so withdraw, the withdrawal shall have the same effect
                         7   as a termination of this Agreement for failure to satisfy a condition of Settlement, and
                         8   the Agreement shall become null and void and have no further force or effect.
                         9                 52.   Objections to Settlement.         Any Settlement Class Member may
                     10      object to the Settlement. Any such objection must be submitted to the Settlement
                     11      Administrator in writing on or before the close of the Exclusion Period. Any such
                     12      written Objection shall include: (1) the full name of the Settlement Class Member and
                     13      last four digits of the Settlement Class Member's social security number; (2) address of
                     14      the Settlement Class Member; (3) the basis for the objection; and (4) if the Settlement
                     15      Class Member intends to appear at the Final Approval Hearing. The Parties shall be
                     16      permitted to file responses to the Objection in addition to any motion for final approval
                     17      documents. At no time shall any of the Parties or their counsel seek to solicit or
                     18      otherwise encourage Settlement Class Members to file or serve written objections to the
                     19      Settlement or appeal from the Order of Final approval and/or Final Judgment. Class
                     20      Counsel shall not represent any Settlement Class Members with respect to any such
                     21      objections.
                     22                    53.   Final Fairness Hearing, Final Approval and Final Judgment.
                     23                          a.         Entry of Final Judgment. At the Final Approval Hearing,
                     24      Named Plaintiffs will request, and Defendant will concur in said request, that the Court
                     25      enter a Final Judgment.
                     26                          b.         Motion. Named Plaintiffs will draft and file a motion for final
                     27      approval in conformity with any requirements from the Court and will take other action
                     28      to request the entry of Final Judgment in accordance with this Agreement. The motion
LITTLE~0 ~EM~~;;~~N, P.C.                                                  26.
         Suite 900
      Irvine, CA 92614
       '"·'°'·  3000
                                       JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
             Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 28 of 36 Page ID
                                               #:692
DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1   for final approval and corresponding paperwork will be subject to input and approval
                     2      from Defendant, provided that Defendant shall have IO days from receipt to provide
                     3      such input. In conjunction with the motion for final approval, Class Counsel shall file
                     4      a declaration from the Settlement Administrator confirming that the Class Notice was
                     5      mailed to all Class Members as required by this Agreement, as well as any additional
                     6      information Class Counsel, with the input and approval of Defendant, deems
                     7      appropriate to provide to the Court. Named Plaintiffs will draft and file a separate
                        8   motion requesting the Attorneys' Fees and Attorneys' Costs and enhancement award
                     9      pursuant to this Agreement to be heard concurrently with the motion for final approval.
                     10                        c.     Order. Named Plaintiffs will also draft and submit a proposed
                     11     Order of Final Approval and Final Judgment in the form that is consistent with this
                     12     Agreement and subject to prior review, revision, and approval by Defendant. The
                     13     Parties shall take all reasonable efforts to secure entry of the Order of Final Approval
                     14     and Final Judgment. If the Court rejects the Agreement, fails to enter the Order of Final
                     15     Approval, or fails to enter the Final Judgment, this Agreement shall be void ab initio,
                     16     and Defendant shall have no obligation to make any payments under the Agreement.
                     17     The Named Plaintiffs will submit a proposed Order of Final Approval subject to the
                     18     review and approval of Defendant that will contain provisions:
                     19                              1.      Wherein the Court enters Final Judgment, finding that
                     20     this Agreement and Settlement is fair, just, equitable, reasonable, adequate, and in the
                     21     best interests of the Class and was reached as a result of intensive, serious, and non-
                     22     collusive arms-length negotiations and was achieved with the aid of an experienced
                     23     mediator and in good faith as to each Class Member;
                     24                             11.      That affirms that each side will bear its own costs and
                     25     fees (including attorneys' fees), except as provided by the Agreement, and that
                     26     Defendant shall not be required to pay any amounts other than as set forth in the
                     27     Agreement and the Order of Final Approval, and in no event any amount above the New
                     28     Money Payment;
LITTLE~0~EM~~;~,;2N•P.C.                                              27.
         Suitt 900
      lrv!ne,CA 92614
       '"'"·'"'                       JOINT STIPULATIONOF CLASS ACTION AND PAGA SETTLEMENTAND RELEASE
             Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 29 of 36 Page ID
                                               #:693
DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                        1                            111.        That confirms the certification of the Class for
                        2   purposes of Settlement only;
                        3                             IV.        That finds that the Settlement Administration process
                        4   as carried out afforded adequate protections to Class Members, provided the best notice
                        5   practicable, and satisfied the requirements of law and due process;
                        6                              v.        That rejects any Objections to the Settlement;
                        7                             v1.        That approves the settlement of PAGA Claims
                        8   consistent with the Settlement;
                        9                            Vll.        That retains Court jurisdiction after entry of judgment
                   1O       to oversee administration and enforcement of the terms of the Agreement and the
                  11        Court's Order that the Settlement Class Members and PAGA Members be barred from
                   12       pursuing, or seeking to reopen, Settled Claims and Settled PAGA Claims against the
                   13       Released Parties; and
                   14                               Vlll.        That requires the Parties to carry out the provisions of
                   15       this Agreement.
                   16                    54.   Notice to the Labor and Workforce Development Agency. Class
                   17       Counsel is responsible for complying with all requirements of the PAGA governing
                   18       notice to the LWDA of settlement and/or final judgment. Specifically, Class Counsel
                   19       will provide a copy of the proposed settlement to the LWDA at the same time that it is
                  20        submitted to the Court and will further provide a copy of the Court's judgment to the
                   21       LWDA within 10 days after entry of judgment or order as required by Labor Code
                   22       sections 2699(1)(2)-(3).
                   23                    55.   Payment of Settlement. Defendant will deposit the New Money
                   24       Payment into an account established by the Settlement Administrator within twenty one
                   25       (21) days of the Effective Date.
                   26                          a.           The Parties agree that the New Money Payment will qualify
                   27       as a settlement fund pursuant to the requirements of Section 468(B)(g) of the Internal
                   28       Revenue Code of 1986, as amended, and Section l .468B-l et seq. of the income tax
LITTLERMENDELSON,P.C.
     2050 Main Street                                                     28.
          Suite 900
     livine, CA 92814
       949.705.3000
                                      JOINT STIPULATIONOF CLASS ACTION AND PAGA SETTLEMENTAND RELEASE
             Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 30 of 36 Page ID
                                               #:694
 DocuSign Envelope ID: 057C4389-186E-4FB1-8568-E025EF50A7BF




                        1   regulations. Furthermore, the Settlement Administrator is hereby designated as the
                        2   "Administrator" of the qualified Settlement funds for purposes of Section l .468B-2(k)
                        3   of the income tax regulations. As such, all employee taxes imposed on the gross income
                        4   of that settlement fund and any tax-related expenses arising from any income tax returns
                        5   or other reporting documents that may be required by the Internal Revenue Service or
                        6   any state or local taxing body will be paid from the New Money Payment by the
                        7   Settlement Administrator.
                        8                        b.     The Settlement Administrator shall be deemed to have timely
                        9   distributed Settlement Payments if it places said payment in the mail (First-Class U.S.).
                   1O       If the Settlement Administrator receives notice from Settlement Class Members that
                   11       they have not received such Settlement Payments due to changes of address or other
                   12       circumstances, the Settlement Administrator shall make reasonable efforts to ensure the
                   13       initial payment is cancelled and re-mail the Settlement Payment to the Settlement Class
                   14       Member.
                   15                            C.     The distribution of Attorneys' Fees, Attorneys' Costs, and the
                   16       Named Plaintiffs' enhancement awards shall occur no later than the Settlement
                   17       Proceeds Distribution Deadline. Under no circumstances shall the foregoing payments
                   18       be made prior to the distribution of Settlement Payments to Settlement Class Members.
                   19                    56.     Settlement Class Members who are sent Settlement Payments shall
                   20       have ninety (90) days after mailing by the Settlement Administrator to cash their
                   21       settlement checks.
                   22                    57.     If such Settlement Class Members do not cash their checks within
                   23       that period, those checks will become void and a stop payment will be placed on the
                   24       uncashed checks. Settlement checks that are not cashed within ninety (90) days of
                   25       mailing shall, subject to Court approval, be distributed pursuant to the Unclaimed
                   26       Property Division of the State Controller under the Class Member's name, or as
                   27       otherwise directed by applicable law and as ordered by the Court. The Parties agree
                   28       that if the remaining funds are not able to be distributed to the unclaimed wage fund
LITTLE~
      0
        :EM~~~~,:2N•
                   P.C.                                                29.
        Su!te900
     Irvine, CA 92614
      '""'·""                         JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
             Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 31 of 36 Page ID
                                               #:695
DocuSignEnvelopeID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                       1   and if a cy pres fund is required, subject to Court instruction, then the Settlement
                       2   Administrator shall forward the entirety of any amounts remaining from uncashed
                       3   checks, plus any interest that has accrued thereon, to the Katherine and George
                       4   Alexander Community Law Center. Settlement Class Members who fail to negotiate
                       5   their check( s) in a timely fashion shall, like all Settlement Class Members who did not
                       6   validly opt out of the Settlement, remain subject to the terms of the Settlement and the
                       7   Final Judgment.
                       8                58.   Upon completion of administration of the Settlement, the Settlement
                       9   Administrator shall provide written certification of such completion to the Court, Class
                     10    Counsel, and Defendant's Counsel.
                     11                 59.   Binding Effect of Agreement on Settlement Class Members and
                     12    PAGA Members. Subject to final Court approval, all Settlement Class Members and
                     13    PA GA Members shall be bound by this Agreement, and Final Judgment shall be entered
                     14    in the Action barring re-litigation of any Settled Claims and Settled PAGA Claims
                     15    against Defendant and/or the Released Parties. In addition, unless the Class Member
                     16    timely opts out of the Settlement described in this Agreement, he/she shall be bound by
                     17    the Court's Order of Final Approval and Final Judgment enjoining all Settlement Class
                     18    Members and PA GA Members from pursuing, or seeking to reopen, Settled Claims and
                     19    Settled PAGA Claims against the Released Parties.
                     20                 60.   Waiver of Appeal. Subject to preliminary and Final Approval of
                     21    this Settlement, Named Plaintiffs and all Class Members, except those Class Members
                     22    who make timely and valid objections pursuant to the terms of this Agreement,
                     23    expressly waive the right to appeal.
                     24                 61.   Automatic Voiding of Agreement if Settlement Not Finalized. If for
                     25    any reason the Effective Date does not occur, the Settlement shall be null and void and
                     26    the orders, judgment, and dismissal to be entered pursuant to this Agreement shall be
                     27    vacated; and the Parties will be returned to the status quo prior to entering this
                     28    Agreement with respect to the Action, as if the Parties had never entered into this
LITTLERMENDELSON,P.C.
     2050 Main81taot                                                30.
         Suite 900
     Irvin&,CA 92614
      949.706.3000
                                     JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
           Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 32 of 36 Page ID
                                             #:696
DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                       1   Agreement. In addition, in such event, the Agreement and all negotiations, court orders
                   2       and proceedings relating thereto shall be without prejudice to the rights of any and all
                   3       Parties hereto, and evidence relating to the Agreement and all negotiations shall not be
                   4       admissible or discoverable in the Action or otherwise in any other proceeding.
                   5                    62.      No Injunctive Relief. The Parties agree that the Settlement does not
                   6       include injunctive relief against Defendant or the Released Parties.
                   7                    63.      Confidentiality and Non-Disparagement.
                   8                             a.    Prior to the motion for preliminary approval and submission
                   9       of this Agreement to the Court, Class Counsel shall not discuss the terms of the
                  1O       Settlement or the negotiations leading to Settlement with any person other than the
                  11       Named Plaintiff(s).
                  12                             b.    Named Plaintiffs acknowledge that they have not, and will
                  13       not, discuss the terms of the Settlement with any persons other than Class Counsel prior
                  14       to filing the motion for preliminary approval and submission of this Agreement to the
                  15       Court. Named Plaintiffs further acknowledge that at no time will they disclose details
                  16       of the negotiations leading to this Settlement, including information learned during or
                  17       after mediation, including the details of the negotiations leading to this Settlement.
                  18       Named Plaintiffs acknowledge that a breach of these provisions will result in the
                  19       forfeiture of their individual enhancement award from this Settlement.
                  20                             c.    To the extent permitted by applicable law, Named Plaintiffs
                  21       agree that they will not make any defamatory or disparaging statements about
                  22       Defendant or any Released Party.
                  23                             d.    Named Plaintiffs and Class Counsel agree to maintain the
                  24       confidentiality of any documents produced, formally or informally, during the course
                  25       of the Action. Upon distribution of all settlement funds, Named Plaintiffs and Class
                  26       Counsel shall destroy all confidential documents related to this Action, including all
                  27       compensation information and data for Class Members. Within twenty-one (21) days
                  28       of the distribution of all funds, Class Counsel shall sign a declaration confirming the
LITTLE~
     ~ E,!!?,~~!?.N•
    0 0
                P.C.                                                   31.
      Suite 900
                  14
    ,r~;t
       1~:. 3~t~                     JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
              Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 33 of 36 Page ID
                                                #:697
DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                     1     destruction of all Defendant's confidential information, including the names, addresses
                     2     and other contact and payroll information related to the Class Members.
                     3                  64.   Modification in Writing. This Agreement may be altered, amended,
                     4     modified or waived, in whole or in part, only in a writing signed by counsel for the
                     5     Parties and, if a material change, approved by the Court. Any waiver of any provision
                     6     of this Agreement shall not constitute a waiver of any other provision of this Agreement
                     7     unless expressly so indicated.
                     8                  65.    Ongoing Cooperation. Named Plaintiffs and Defendant, and each
                     9     of their respective counsel, shall cooperate in good faith to execute all documents and
                   10      perform all acts necessary and proper to effectuate and implement the terms of this
                   11      Agreement, including but not limited to drafting and submitting the Motions for
                   12      Preliminary and Final Approval, and defending the Agreement and Final Judgment
                   13      against objections and appeals. The Parties to this Agreement shall use their best
                   14      efforts, including all efforts contemplated by this Agreement and any other efforts that
                   15      may become necessary by order of the Court or otherwise, to effectuate this Agreement
                   16      and the terms set forth herein.
                   17                   66.    Parties' Authority. The signatories hereby represent that they are
                   18      fully authorized to enter into this Agreement and bind the Parties hereto to the terms
                   19      and conditions hereof
                   20                   67.    No Prior Assignments. The Parties hereto represent, covenant, and
                   21      warrant that they have not directly or indirectly, assigned, transferred, encumbered, or
                   22      purported to assign, transfer, or encumber to any person or entity any portion of any
                   23      liability, claim, demand, action, cause of action, or rights herein released and discharged
                   24      except as set forth herein.
                   25                   68.    Binding on Successors. This Agreement shall be binding and shall
                   26      inure to the benefit of the Parties and their respective successors, assigns, executors,
                   27      administrators, heirs and legal representatives, including the Released Parties.
                   28
LITTLER MENDELSON, P.C.
      2050 MalnStr11111t                                             32.
         Suite900
      Irvine, CA 92614
        949.705.30D0
                                     JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
              Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 34 of 36 Page ID
                                                #:698
DocuSign Envelope ID: 057C43B9-186E-4FB1-B56B-E025EF50A7BF




                         1                   69.   Entire Agreement. This Agreement constitutes the full, complete
                     2       and entire understanding, agreement and arrangement between Nanied Plaintiffs and
                         3   the Class Members/PAGA Members on the one hand, and Defendant and Released
                     4       Parties on the other hand, with respect to the Settlement of the Action and the Settled
                         5   Claims against the Released Parties. This Agreement supersedes any and all prior oral
                         6   or written understandings, agreements and arrangements, written or oral, express or
                         7   implied, between the Parties with respect to the Settlement of the Action and the Settled
                         8   Claims against the Released Parties. The Parties explicitly recognize California Civil
                         9   Code Section 1625 and California Code of Civil Procedure Section 1856(a), which
                   10        provide that a written agreement is to be construed according to its terms, and may not
                   11        be varied or contradicted by extrinsic evidence, and agree that no such extrinsic oral or
                   12        written representations or terms shall modify, vary, or contradict the terms of this
                   13        Agreement.
                    14                       70.   Execution in Counterparts. This Agreement may be signed in one
                    15       or more counterparts. A photographic, scanned or facsimile copy of signatures shall be
                    16       treated as an original signature for all purposes. All executed copies of this Agreement,
                    17       and photocopies thereof (including facsimile or email copies of the signature pages),
                    18       shall have the same force and effect and shall be as legally binding and enforceable as
                    19       the original.
                   20                        71.   Captions. The captions and section numbers in this Agreement are
                   21        inserted for the reader's convenience, and in no way define, limit, construe, or describe
                   22        the scope or intent of the provisions of this Agreement.
                   23                        72.   Governing Law. This Agreement shall be interpreted, construed,
                   24        enforced, and administered in accordance with the laws of the State of California
                   25                        73.   Mutual Preparation. The Parties have had a full opportunity to
                    26       negotiate the terms and conditions of this Agreement. Accordingly, this Agreement
                    27       shall not be construed more strictly against one Party than another merely by virtue of
                    28       the fact that it may have been prepared by counsel for one of the Parties, it being
LITTLER MENDELSON, P.C.
      20~0 Main Blraet                                                 33.
           Suile900
      Irvine, CA 92614
        9-49.706.31100
                                       JOINT STIPULATIONOF CLASS ACTION AND PAGA SETTLEMENTAND RELEASE
              Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 35 of 36 Page ID
                                                #:699
 DocuSignEnvelopeID: 057C4389-186E-4FB1-856B-E025EF50A7BF




                         1   recognized that, because of the arms-length negotiations between the Parties, all Parties
                         2   have contributed to the preparation of this Agreement.
                         3                 74.   Representation by Counsel. The Parties acknowledge that they have
                         4   been represented by counsel throughout all negotiations that preceded the execution of
                         5   this Agreement, and that this Agreement has been executed with the consent and advice
                         6   of counsel.
                         7                 IT IS SO AGREED:
                         8
                              Dated: 5/26/2020            , 2020
                         9
                                                                        OocuSigncd   by:


                      10

                      11

                      12

                      13
                              Dated:_- ______             , 2020

                      14·

                      15                                             JOHN BALNICKI

                      16
                                     May 28
                              Dated: -------             , 2020      ZILLOW, INC.
                      17

                      18

                      19                                             By: Bradley D. Owens
                                                                     Its: Secretary
                      20

                      21

                      22

                      23

                      24

                      25

                      26
                      27

                      28
LITTLER MENDELSON, P.C.
     2050 Main Street
          Suite 900
                                                                       34.
     lrvln11, CA 92614
       949.705.3000
                                       JOINT STIPULATIONOF CLASSACTIONAND PAGASETTLEMENTAND RELEASE
               Case 8:19-cv-00921-JLS-DFM Document 47-3 Filed 03/26/21 Page 36 of 36 Page ID
                                                 #:700
 DocuSignEnvelope ID: 806701CD-25AC-4013-9C66-4D142010AE54




                        1   recognized that, because of the arms-length negotiations between the Parties, all Parties
                        2   have contributed to the preparation of this Agreement.
                        3                 74.      Representation by Counsel. The Parties acknowledge that they have
                        4   been represented by counsel throughout all negotiations that preceded the execution of
                        5   this Agreement, and that this Agreement has been executed with the consent and advice
                        6   of counsel.
                        7                 IT IS SO AGREED:
                        8

                        9
                             Dated:   -------              , 2020

                       10

                       11                                             NICOLE CORREA

                       12              5/26/2020
                       13    Dated:   -------              , 2020
                                                                         OocuSigncd   by:


                       14                                              ~~JM4yt
                                                                      ~~m,""i"'!'r~,,-------------
                       15                                             JOHN BALNICKI

                       16

                       17
                             Dated: ______                 , 2020     ZILLOW, INC.

                       18

                       19                                             By:
                                                                      Its:
                       20
                       21

                       22

                       23

                       24

                       25

                       26
                       27
                       28
LITTLER MENDELSON, P.C.
      2050Main8trcet
         Sult~ 900
                                                                       34.
     lrvln&, CA 92614
       949.705.3000
                                       JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
